                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                       *      CIVIL ACTION NO. 21-80

VERSUS                                  *      SECTION “D” (2)

SHERIFF JOSEPH P. LOPINTO,              *      Judge Wendy B. Vitter
III, ET AL.                                    Magistrate Judge Donna P. Currault


                      DECLARATION OF WILLIAM MOST

I, William Most, declare the following under penalty of perjury:

      1.     I have personal knowledge of the matters stated in this declaration and

could competently testify to the same if called upon to do so.

      2.     I am counsel of record to Plaintiffs in the above-captioned matter.

      3.     On October 3, 2022, I contacted counsel for the Louisiana Secretary of

State to determine whether my understanding of the law is correct – that an agency

cannot delete records in the absence of a records retention schedule.

      4.     I spoke to Attorney Connor Junkin of the Louisiana Secretary of State’s

office. He said he would inquire and get back to me.

      5.     Later on October 3, 2022, Mr. Junkin left me a voicemail that said, in

pertinent part:

      I contacted the Archives and they told me that they can’t – well, they are not
      supposed to delete any records without the permission of the Archives. So you
      are correct in that. And if the records aren’t on a retention schedule they need
      to be added. There’s a form, and a disposal request, and all this other stuff that
      they need to do. I can’t remember which sheriff’s office you said, but I was told
      they’ve had some issues with sheriff’s offices in the past.

I declare that the foregoing is true and correct.

                           /s/ William Most_____       Date: October 3, 2022
                           William Most
